                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO.: 3:17-CR-306-FDW-DSC

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )              ORDER
                                                 )
      v.                                         )
                                                 )
BOB SCOTT CHAVIS,                                )
                                                 )
                  Defendant.                     )
                                                 )
______________________________________

           THIS MATTER IS BEFORE THE COURT on Defendant's “Motion For

 Reconsideration Of Codefendant’s Conditions Of Release” (Document No. 70) filed November

 16, 2017. Having carefully considered the motion and the record, and noting no objection from

 either the Government or Defendant’s Probation Officer, the undersigned will grant the motion.

           IT IS, THEREFORE, ORDERED that Defendant's “Motion For Reconsideration Of

 Codefendant’s Conditions Of Release” (Document No. 70) is GRANTED.

           IT IS FURTHER ORDERED that Section J of the “Order Setting Conditions Of Release”

 (Document No. 49) shall be modified to enable Bob Scott Chavis and Brandy Chavis to reside and

 have contact with one another.

           SO ORDERED.


                                         Signed: November 17, 2017




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